                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 ROBERT A. ERVIN,                                  )
                                                   )
               Petitioner,                         )
                                                   )
 v.                                                )       Nos.: 3:10-CR-11
                                                   )             3:13-CV-347
 UNITED STATES OF AMERICA,                         )             (VARLAN/SHIRLEY)
                                                   )
               Respondent.                         )


                                   JUDGMENT ORDER

        In accordance with the accompanying Memorandum, petitioner's motion to vacate,

 set aside or correct sentence pursuant to 28 U.S.C. § 2255 is GRANTED to the extent his

 sentence of 60 months will be VACATED and the Court will IMPOSE a new sentence of

 41 months. If this sentence is less than the amount of time the petitioner has already served,

 the sentence is reduced to a "time served" sentence. This Order shall take effect ten (10)

 days from its entry in order to give the Bureau of Prisons time to process the release of the

 petitioner. The Clerk is DIRECTED to close the civil file.

               ENTER:


                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE

 ENTERED AS A JUDGMENT

      s/ Debra C. Poplin
      CLERK OF COURT




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